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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF OKLAHOMA

EUKAIRIA CORPORATION d/b/a Little          )
Glasses Resort & Marina,                   )
                         Plaintiff(s),     )
                                           )
vs.                                        )     Case No. CIV-17-135-RAW
                                           )
NEW HAMPSHIRE INSURANCE COMPANY,           )
                    Defendant(s).          )

                          JUDGMENT DISMISSING ACTION
                           BY REASON OF SETTLEMENT

        The Court has been advised by counsel that this action has

been settled, or is in the process of being settled. Therefore, it

is not necessary that the action remain upon the calendar of the

Court.

        IT IS ORDERED that the action is dismissed without prejudice.

The Court retains complete jurisdiction to vacate this order and to

reopen the action upon cause shown that settlement has not been

completed and further litigation is necessary.

        IT IS FURTHER ORDERED that the clerk forthwith serve copies of

this judgment upon the attorneys for the parties appearing in this

action.

        IT IS FURTHER ORDERED that parties are directed to submit

closing papers within 30 DAYS from date of this judgment.

        DATED this 24th day of July, 2018.
